                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE


MATTALEN SIMPSON                                 )
                                                 )
       Plaintiff,                                )            Case No. _________________
                                                 )
       V.                                        )
                                                 )
CORECIVIC, INC.; CORECIVIC                       )            JURY TRIAL DEMANDED
OF TENNESSEE, LLC                                )
                                                 )
       Defendants.                               )



                                          COMPLAINT



                                   PARTIES TO THIS ACTION

        1.      Plaintiff Mattalen Simpson (“Plaintiff”) is a citizen and resident of Davidson

County and is a former employee of Defendant. Plaintiff is an African-American female.

        2.      Defendant CoreCivic, Inc. is a corporation organized under the laws of the State

of Maryland and at all relevant times was Plaintiff’s employer.

        3.      Defendant CoreCivic of Tennessee, LLC is a Limited Liability Company

organized under the laws of the State of Tennessee and at all relevant times was a co-employer of

Plaintiff along with CoreCivic, Inc. (hereinafter, CoreCivic Inc. and CoreCivic of Tennessee LLC

shall be referred to jointly as “Core Civic”.)

        4.      This is an action for damages and equitable relief for unlawful employment

practices brought under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e

et seq., (“Title VII”) and 42 U.S.C. § 1981 (“Section 1981”), as well as violations of the Fair Labor

Standards Act, 29 U.S.C. § 201 et seq.




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         5.      At all relevant times, Core Civic employed more than five hundred (500)

employees.

                                   JURISDICTION AND VENUE

         6.      This court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and § 1343.

         7.      Venue is proper pursuant to 28 U.S.C. §1391(b) because the acts giving rise to this

complaint occurred in an area embraced within the Middle District of Tennessee and both

Defendants reside in this judicial district.

         8.      Plaintiff has complied with all conditions precedent to the filing of her claims

pursuant to 42 U.S.C. § 2000e, to wit, a timely Charge of discrimination was filed with the Equal

Employment Opportunity Commission (“EEOC”) within 300 days of the last Title VII violation.

The EEOC issued a Right to Sue Notice on August 21, 2018 that plaintiff received on August 28,

2018. A copy of the Notice of Right to Sue is attached hereto as Exhibit A.

                                               FACTS

       9.         Plaintiff became employed by Defendant in approximately 2012 as a Master

Scheduler at a location in Texas, earning $19.00+ per hour.

       10.        Sometime in mid-2016, Core Civic’s Human Resources Department contacted

Plaintiff and asked whether she would be willing to move to open a new location to operate in

Hartsville, Tennessee, which would house approximately 2,500 male inmates.

       11.        Plaintiff’s goal was to move to the Facility Support Center (“FSC”) in Nashville

where she would have greater opportunities. She thought by moving to Tennessee she would have

the opportunity to meet more people at the FSC and increase her chances of obtaining a better

position. Therefore, she agreed to uproot her two (2) children, ages 5 and 7, and relocate to

Tennessee.




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       12.       In June 2016 Plaintiff began working at Trousdale-Turner Correctional Facility

(“TTCF”) in Hartsville as a Master Scheduler.

       13.       Plaintiff adequately and competently performed the duties of her position.

       14.       In August 2017 a new warden named Russell Washburn came to TTCF. Russell

Washburn is a white male.

       15.       Upon information and belief, when Washburn learned the hourly rate that

Plaintiff, a Black Female, was earning, Washburn made statements that Plaintiff was getting paid

too much.

       16.       Up until that time, the Master Scheduler worked under the supervision of the

Assistant Warden or Chief.

       17.       Washburn changed the reporting structure so that Plaintiff’s position reported to

him.

       18.       Washburn told Plaintiff that he was going to have the Lieutenants and Captains

email him every alleged mistake she made, and if he did not feel she was qualified to do the job,

he would get rid of her, despite the fact that she had been successfully performing the job for other

wardens for almost five (5) years.

       19.       Washburn changed Plaintiff’s job duties and added many additional duties to

make her job more difficult.

       20.       Plaintiff had to start taking her work home to get all of it finished. However, she

could not report those hours because Washburn told her she could not have overtime.

       21.       When she had reported overtime Washburn sent her an email telling her that she

was not allowed overtime and said she had to justify it.

       22.       White employees were permitted to have overtime without harassment or

justification to the same degree as Plaintiff.




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        23.       It was reported to Plaintiff that Washburn stated, “I am going to get her m****

f****in ass out of here.”

        24.       Plaintiff was advised by other employees to “watch her back.”

        25.       Washburn watched every move Plaintiff made and tried to find any reason to

discipline her.

        26.       Prior to Washburn coming to the facility, Plaintiff had not been written up.

        27.       Washburn tried to have Plaintiff written up for not covering a hospital case that

she did in fact cover. This was a pretext to create a disciplinary record against Plaintiff. Washburn

was later forced to admit she had done nothing wrong.

        28.       On another occasion Plaintiff advised management that she had insufficient

employees available to staff a Saturday shift, but was told to “figure it out” without letting any of

the officers go over their hours and into overtime. One of the captains agreed to let an officer out

early on Friday so he could return to work the Saturday shift within his allowed hours; however,

the captain did not do so and the officer went over his hours. Plaintiff was nevertheless written up

for this as if it were her fault. This was a pretext to create a disciplinary record against Plaintiff.

        29.       When Plaintiff tried to reach out to get more staff, Washburn told her that if she

reaches out again, “we are going to have problems.”

        30.       Washburn forbid her from reaching out to anyone in FSC and told her she could

only go through him.

        31.       When Plaintiff tried to talk to Washburn, he derided her and told her that if she

felt she couldn’t do the job then she should find something she can handle.

        32.       In October 2017 Plaintiff began making complaints to the Ethics Department.

        33.       No action was ever taken on Plaintiff’s complaints.




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       34.       Plaintiff also complained to Human Resources on multiple occasions, but no

action was ever taken.

       35.       On one occasion, Plaintiff mistakenly put an officer on the roster who was not

supposed to be working.

       36.       As a result of this single mistake, on January 2, 2018 Washburn discriminatorily

demoted Plaintiff to a Clerk position.

       37.       As a result of her demotion, Plaintiff’s wage was reduced from $23.00/hour to

$10.00/hour.

       38.       Plaintiff filed a grievance regarding her demotion, but no action was ever taken

and no hearing was held.

       39.       Plaintiff was forced to resign from her position at the end of January because of

the intolerable conditions created by Defendants’ racial harassment and discrimination and

because Plaintiff could not afford to support her two (2) children on the meager wage Washburn

allowed her.

       40.       Plaintiff was replaced by a white female.

       41.       Plaintiff intended to apply for a position at the FSC, but when she inquired there

she learned that she had been deemed “not eligible for rehire” by Washburn and others thereby

precluding her from obtaining any other job at Core Civic.



                                                 COUNT I
                                                 TITLE VII
                                         29 U.S.C. § 2000e, et seq.

       42.       Plaintiff incorporates by reference paragraphs 1 through 41 as though fully set

forth herein at length.




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        43.       Plaintiff was subjected to discrimination in the terms and conditions of her

employment, based upon her race.

        44.       Plaintiff was improperly disciplined and demoted as a result of her race.

        45.       Plaintiff was constructively discharged as a result of her race.

        46.       Defendant’s actions were willful, wanton and malicious, and demonstrated a

reckless disregard for Plaintiff’s rights.

        47.       As a result of Defendants’ discriminatory actions, Plaintiff has suffered loss of

employment, lost wages, emotional distress, and she is entitled to recover damages including

compensatory damages, back wages, front wages, punitive damages, attorney’s fees and costs.



                                           COUNT II
                                    TITLE VII – RETALIATION
                                        29 U.S.C. § 2000e

        48.       Plaintiff incorporates by reference paragraphs 1 through 47 as though fully set

forth herein at length.

        49.       Plaintiff engaged in protected activity by opposing Defendants’ discriminatory

misconduct.

        50.       Plaintiff’s exercise of protected activity was known to the Defendants.

        51.       Defendants thereafter took adverse employment actions against Plaintiff,

including without limitation harassing her, demoting her in position, reducing her pay, and

constructively discharging her from employment.

        52.       A causal connection existed between the Plaintiff’s protected activity and the

adverse employment actions alleged above.




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        53.      As a result of Defendants’ retaliatory actions, Plaintiff has suffered loss of

employment, lost wages, emotional distress, and she is entitled to recover damages including

compensatory damages, back wages, front wages, punitive damages, attorney’s fees and costs.



                                           COUNT III
                                        42 U.S.C. § 1981

        54.      Plaintiff incorporates by reference paragraphs 1 through 53 as though fully set

forth herein at length.

        55.      Defendant discriminated against Plaintiff in the terms, conditions and privileges

of employment and discharged her from employment based upon her race, in violation of Section

1981.

        56.      As a result of Defendants’ discriminatory actions, Plaintiff has suffered loss of

employment, lost wages, emotional distress, and she is entitled to recover damages including

compensatory damages, back wages, front wages, punitive damages, attorney’s fees and costs.



                                        COUNT IV
                              FAIR LABOR STANDARDS ACT
                                   29 U.S.C. § 201 et seq.

        57.      Plaintiff incorporates by reference paragraphs 1 through 56 as though fully set

forth herein at length.

        58.      Plaintiff is an “employee” within the meaning of the Fair Labor Standards Act,

29 U.S.C. § 201, et seq. and was engaged in the production of goods or services for commerce

while employed by Defendant.

        59.       Defendants CoreCivic Inc. and CoreCivic of Tennessee, LLC separately are each

an “enterprise engaged in commerce” within the meaning of the Fair Labor Standards Act, 29

U.S.C. § 201, et seq.



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       60.        On many occasions, Plaintiff worked more than forty (40) hours in a week in

order to accomplish all tasks required of her by Washburn.

       61.        Washburn refused to permit Plaintiff to receive overtime pay.

       62.        Plaintiff was unlawfully denied overtime compensation under the Fair Labor

Standards Act.

       63.        Plaintiff was at all times a non-exempt employee entitled to overtime pay for

those hours worked in excess of forty in any given workweek.

       64.        Defendant’s violations were willful and deliberate.

       65.        As a result of Defendant’s actions, Plaintiff is entitled to recover damages

including back wages, liquidated damages, attorney’s fees and costs.




       WHEREFORE Plaintiff respectfully requests judgment in her favor and specifically:

       1. A jury trial on all claims triable to a jury.

       2. Compensatory damages;

       3. Back pay and damages for lost benefits;

       4. Reinstatement or Front pay in lieu of same;

       5. Liquidated damages;

       6. Punitive damages;

       7. Attorney’s fees and expenses;

       8. Prejudgment interest and, if applicable, post-judgment interest;

       9. Injunctive relief prohibiting Defendants from discriminating and retaliating against

             other employees; and




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      10. Such other legal or equitable relief to which she may be entitled.




                                            SUE PALMER & ASSOCIATES PLLC


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Plaintiff demands a trial by jury on all claims so triable.

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